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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )         CASE NO. 5:14CR7-16
                                            )
                       PLAINTIFF,           )         JUDGE SARA LIOI
                                            )
vs.                                         )
                                            )         ORDER
WILLIAM D. ROBINSON,                        )
                                            )
                                            )
                      DEFENDANT.            )

               This matter is before the Court upon Magistrate Judge Kathleen B. Burke's

Report and Recommendation that the Court ACCEPT Defendant William D. Robinson's

("Defendant") plea of guilty and enter a finding of guilty against Defendant. (Doc. No.

265.)

               On January 9, 2014, the government filed an Indictment against

Defendant. (Doc. No. 1.) On July 9, 2014, this Court issued an order assigning this case

to Magistrate Judge Burke for the purpose of receiving Defendant's guilty plea. (Doc. No.

205.)

               On August 8, 2014, a hearing was held in which Defendant entered a plea

of guilty to Count Two of the Indictment, charging him with Distribution of 56.5 Grams

of Heroin, a Schedule I Controlled Substance, in violation of Title 21 U.S.C. Sections

841(a)(1) & 841(b)(1)(C). Magistrate Judge Burke received Defendant's guilty plea and

issued a Report and Recommendation ("R&R") recommending that this Court accept the

plea and enter a finding of guilty. (Doc. No. 265.)
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                Neither party objected to the Magistrate Judge's R&R in the fourteen days

after it was issued.

                Upon de novo review of the record, the Magistrate Judge's R&R is

ADOPTED. Specifically, the Court finds as follows: that the defendant is competent to

enter a plea, that he understands his constitutional rights, that he is aware of the

consequences of entering a plea, and that there is an adequate factual basis for the plea.

The Court further finds that the plea was entered knowingly, intelligently, and

voluntarily. Accordingly, the Defendant's plea of guilty is APPROVED.

                Therefore, the Defendant is adjudged guilty of Count Two in violation of

Title 21 U.S.C. Sections 841(a)(1) & 841(b)(1)(C). The sentencing will be held on

November 4, 2014 at 11:30 a.m.

                IT IS SO ORDERED.



Dated: September 17, 2014
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
